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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9    Jana James,                                      No. CV-23-00231-PHX-DLR
10                  Plaintiff,                         ORDER
11    v.
12    AT Still University,
13                  Defendant.
14
15          Before the Court is Plaintiff’s Counsel’s second Motion to Withdraw as Counsel
16   without Consent (Doc. 120). The Court will set an expedited briefing schedule on this

17   motion, and allow Plaintiff to file her respond under seal, if she so chooses. Accordingly,
18          IT IS ORDERED that Plaintiff shall respond to the motion to withdraw no later

19   than June 12, 2025.

20          IT IS FURTHER ORDERED that Plaintiff shall be permitted to submit her
21   response under seal, if she so chooses.
22          IT IS FURTHER ORDERED that the Clerk of the Court shall forward a copy of

23   this order to Plaintiff Ms. James at the following email address: janajames15@gmail.com.

24          Dated this 5th day of June, 2025.

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27
                                                   Douglas L. Rayes
28                                                 Senior United States District Judge
